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                                       UNITED STATES DISTRICT COURT
                                              DISTRICT OF MARYLAND
        CHAMBERS OF                                                                         U.S. COURTHOUSE
      ANDRE M. DAVIS                                                                     101 W. LOMBARD STREET
UNITED STATES DISTRICT JUDGE                                                           BALTIMORE, MARYLAND 21201
                                                                                            (410) 962-0801
                                                                                          FAX (410) 962-0820
                                                                                    MDDAMDChambers@mdd.uscourts.gov




                                                     August 27, 2008



                 MEMORANDUM TO COUNSEL RE:                  USA v. Lawrence Hill
                                                            Case No.: AMD 07-0229

              This notice is to confirm that a sentencing has been scheduled in the above-titled case for
        Thursday, September 4, 2008 at 12:00 p.m. Please mark your calendars accordingly.

                                                     Very truly yours,

                                                            /s/

                                                     Andre M. Davis
                                                     United States District Judge

        AMD/vcl
